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John E. Haapala, Jr.
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Attorney for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON

RILEY KATHLEEN DOUGHAN,                       Case No. 6:20-CV-00101-SB

    Plaintiff,
                                              ORDER AWARDING ATTORNEY FEES
  vs.                                         PURSUANT TO THE EQUAL ACCESS TO
                                              JUSTICE ACT
COMMISSIONER OF SOCIAL
SECURITY,

     Defendant.


        Based upon the stipulation of the parties, it is hereby ORDERED that, pursuant

to the Equal Access to Justice Act, 28 U.S.C. §§ 2412, an attorney fee in the amount of

$6,058.36 be awarded to Plaintiff. If Plaintiff does not owe an outstanding debt eligible

under the Federal Treasury Offset Program, Defendant shall make the check payable to

Plaintiff’s attorney, John E. Haapala, Jr. Defendant shall mail the check to Plaintiff’s

attorney at: John Haapala, 401 E 10th Ave., Suite 240, Eugene, Oregon, 97401.

        There are no other costs or expenses to be paid herein.



Dated this 4th day of November, 2020.

                                           ______________________________
                                           Hon. Stacie F. Beckerman
                                           United States Magistrate Judge
Submitted by:
John E. Haapala



ORDER AWARDING ATTORNEY FEES PURSUANT TO THE EQUAL ACCESS TO
JUSTICE ACT
